         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3600
                 L.T. Case No. 2023-SC-000158
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LANA ANN TURNER-REED,

    Appellant,

    v.

LANA T. REED, TYRONE HARRIS,
AND MICHELLE G. FANCHER,

    Appellees.
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On appeal from the County Court for Duval County,
Scott F. Mitchell, Judge.

Lana Ann Turner-Reed, Jacksonville, pro se.

No Appearance for Appellees.

                 August 20, 2024

PER CURIAM.

    AFFIRMED.

EDWARDS, C.J., and LAMBERT and MACIVER, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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